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                        In the United States District Court
                             for the District of Kansas



United States of America,
              Plaintiff,

v.                                                     Case No. 21-10043-01 EFM

Paul Gordon,
                  Defendant.



                               Motion for Continuance


     Defendant Paul Gordon, through undersigned counsel, moves this Court to

continue the change of plea hearing for 30 days, for the following reasons:

     1. The change of plea hearing is scheduled for Wednesday, May 4, 2022, at

10:00 a.m.

     2. The government does not object to this request.

     3. Additional time is necessary for counsel’s effective preparation, taking into

account counsel’s exercise of due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv).

Specifically, Mr. Gordon was arraigned on June 23, 2021. On March 11, 2022, the

Government notified undersigned counsel of the existence of recorded jail calls

made by the defendant. The parties have been working to resolve outstanding

questions pertaining to the collection of the recorded jail calls, a filter team, and the

U.S. Attorney’s Office policy regarding jail calls. The U.S. Attorney’s Office
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management and filter team needs to respond to defense inquiries before Mr.

Gordon proceeds with the change of plea.

   4. For these reasons, the ends of justice served by granting this continuance

outweigh the best interest of the public and the defendant in a speedy trial. See 18

U.S.C. § 3161(h)(7). “[S]ubsection (h)(7) expressly accounts for the possibility that a

district court would need to delay a trial to give the parties adequate preparation

time.” Bloate v. United States, 559 U.S. 196, 213 (2010). “[A] district court may

exclude preparation time under subsection (h)(7) if it grants a continuance for that

purpose based on recorded findings ‘that the ends of justice served by taking such

action outweigh the best interest of the public and the defendant in a speedy trial.’”

Id. at 214. This subsection provides “[m]uch of the Act’s flexibility,” and gives

district courts “discretion . . . to accommodate limited delays for case specific needs.”

Zedner v. United States, 547 U. S. 489, 498-99 (2009). Those needs are present here.

   Defendant Gordon has been informed of the statutory right to a speedy trial,

joins in this request to continue, and does not object to the tolling of speedy trial

time during the requested period.

   We therefore ask this Court to make the required findings and continue the

change of plea hearing for 30 days.




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                                        Respectfully submitted,


                                        s/Melody Brannon
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                           CERTIFICATE OF SERVICE

   I hereby certify that on May 3, 2022, I electronically filed the foregoing with the
Clerk of the Court by using the CM/ECF system, which will send a notice of
electronic filing to the following:

      Molly Gordon
      Assistant U.S. Attorney
      Molly.Gordon@usdoj.gov

                                        s/Melody Brannon
                                        MELODY BRANNON, Sup. Ct. No. 17612




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